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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION


NATHAN ROBERTS and FREEDOM
TRUCK DISPATCH LLC, on behalf of
themselves and all others similarly situated,

            Plaintiffs,

v.                                              Case No. 1:23-cv-01597
                                                Hon. Patricia A. Gaughan
PROGRESSIVE PREFERRED INSURANCE                 Mag. Judge James E. Grimes, Jr.
COMPANY; PROGRESSIVE CASUALTY
INSURANCE COMPANY; CIRCULAR
BOARD INC.,

            Defendants.


      BRIEF OF THE EQUAL EMPLOYMENT OPPORTUNITY COMMISSION AS
     AMICUS CURIAE SUPPORTING DEFENDANTS ON THE ISSUE ADDRESSED
                               HEREIN
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N.Y. State Bar Ass’n, Task Force on Advancing Diversity, Report and
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                                STATEMENT OF INTEREST

       The Equal Employment Opportunity Commission (EEOC) is charged by Congress with

enforcing Title VII of the Civil Rights Act of 1964, 42 U.S.C. §§ 2000e et seq. The EEOC has

accordingly promulgated Guidelines regarding permissible voluntary affirmative-action plans 1

under Title VII to remedy the effects of past discrimination. See 29 C.F.R. pt. 1608.

       The EEOC has a strong interest in the proper interpretation of Title VII as it relates to

private-sector, voluntary affirmative-action plans. This case implicates the standards governing

private-sector, voluntary affirmative-action plans under 42 U.S.C. § 1981, which courts have

modeled on Title VII race-based affirmative-action standards. See Setser v. Novack Inv. Co., 657

F.2d 962, 966-67 (8th Cir. 1981) (en banc). The EEOC accordingly offers its views regarding the

Title VII standards.

                                        BACKGROUND

       According to the First Amended Complaint (FAC), in 2023, defendants Progressive

Preferred Insurance Company and Progressive Casualty Insurance Company (Progressive)

announced their “Driving Small Businesses Forward” grant program, administered by defendant

Circular Board Inc. (Hello Alice). R.32-4 at 3. 2 Through the grant program, defendants would

award ten $25,000 grants to small, Black-owned businesses to use toward purchasing a




1
  We note that voluntary affirmative-action programs are generally distinct from employer
programs to achieve diversity, equity, inclusion, and accessibility, or “DEIA programs.”
Permissible DEIA programs are designed to ensure that all employees have a full and equal
opportunity to participate, contribute, and succeed in the workforce and typically “do not make
or encourage decisions to be made on the basis of race or another protected characteristic.” N.Y.
State Bar Ass’n, Task Force on Advancing Diversity, Report and Recommendation 57 (Sept. 20,
2023), https://nysba.org/app/uploads/2023/09/NYSBA-Report-on-Advancing-Diversity-9.20.23-
FINAL-with-cover.pdf. DEIA programs are not at issue in this case.
2
  We reference documents filed with the Court as R.# at *, with # referring to the document’s
number on the docket, and * referring to the court-stamped page number.


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commercial vehicle. Id. In announcing the program, defendants cited consulting firm McKinsey

& Company’s finding that “[w]hile 20 percent of Black Americans start businesses, only four

percent of these businesses survive the startup stage due in large part to the difficulty Black

business owners have in accessing financing.” Id. Through the “Driving Small Businesses

Forward” grant program, defendants sought to “extend[] support to help close these gaps for

Black entrepreneurs and elevate their businesses.” Id. Defendants also partnered to offer grants

of between $5,000 and $25,000 to small-business owners “of all backgrounds” through their

Small Business Growth Fund. R.32-1 at 3.

       Progressive emailed plaintiff Nathan Roberts promoting these two grant programs and

encouraging him to apply. Id. Roberts, who is White, wanted to apply for the “Driving Small

Business Forward” grant on behalf of his company, plaintiff Freedom Truck Dispatch LLC, but

when he realized the grant was available only to Black-owned businesses, he did not complete an

application. R.32 ¶¶ 26-30.

       Roberts and Freedom Truck Dispatch sued Progressive and Hello Alice, alleging that the

“Driving Small Business Forward” grant program violates 42 U.S.C. § 1981. The plaintiffs

purport to represent a class of “all individuals who were or are ‘able and ready’ to apply to

Progressive’s ‘Driving Small Business Forward’ grant program . . . and have been or would be

subjected to adverse racial discrimination on account of the defendants’ behavior.” R.32 ¶ 36.

       On February 7, Progressive and Hello Alice moved to dismiss the FAC. Among other

things, Hello Alice argued that the challenged grant program is a valid affirmative-action

program under section 1981, invoking the Title VII affirmative-action framework. R.35 at 30-31.

                                          ARGUMENT

       The EEOC and the Supreme Court have long agreed that Title VII permits employers to

adopt voluntary affirmative-action plans to remedy manifest imbalances in their workforces.


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Courts have interpreted section 1981 to allow voluntary race-based affirmative action as well, in

employment and non-employment cases, guided by the framework established in the Supreme

Court’s Title VII affirmative-action caselaw. The Supreme Court did not alter the standards for

purely private affirmative-action measures in its postsecondary education affirmative-action

decisions under the Equal Protection Clause and Title VI of the Civil Rights Act of 1964. 3

I. Title VII standards, which courts have applied to 42 U.S.C. § 1981, permit private
    employers to adopt voluntary affirmative-action plans to remedy manifest imbalances.

       The Supreme Court has long held that Title VII permits voluntary affirmative-action

plans in private employment. See generally Johnson v. Transp. Agency, 480 U.S. 616 (1987); 4

United Steel Workers of Am. v. Weber, 443 U.S. 193 (1979); see also Price Waterhouse v.

Hopkins, 490 U.S. 228, 239 & n.3 (1989) (plurality opinion) (noting that Title VII’s

“announcement that sex, race, religion, and national origin are not relevant to the selection,

evaluation, or compensation of employees” did not encompass “the special context of affirmative

action”).

       According to the EEOC’s Compliance Manual, “[a]ffirmative action . . . is not a type of

discrimination but a justification for a policy or practice based on race, sex, or national origin.”

EEOC Compliance Manual § 607.1(a), 2006 WL 4673406 (1981); id. § 607.2(a), 2006 WL

4672863; see also 29 C.F.R. § 1608.1 (voluntary affirmative-action plans are consistent with,

and further the purpose of, Title VII). A voluntary affirmative-action plan is an effort by an

employer, absent a court order or legal requirement, to address identified barriers to equal




3
  The EEOC takes no position on any other arguments defendants advanced in their motions to
dismiss.
4
  The employer in Johnson was a public entity subject to the Equal Protection Clause. But
because the plaintiff did not raise a “constitutional issue,” the Court decided “only the issue of
the prohibitory scope of Title VII.” Johnson, 480 U.S. at 620 n.2.


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employment opportunity by increasing the representation of underrepresented groups in specific

job categories in the employer’s workforce to a level that is commensurate with their proportion

of the relevant labor market. See Johnson, 480 U.S. at 640-42 (upholding employer plan that

included sex as “one of several factors that may be taken into account in evaluating qualified

applicants for a position” as part of employer’s plan to increase representation of women in

positions where they had traditionally been underrepresented); Weber, 443 U.S. at 197

(upholding voluntary plan that reserved openings in a training program for Black employees

“until the percentage of black craft-workers in the plant is commensurate with the percentage of

blacks in the local labor force”); Shea v. Kerry, 796 F.3d 42, 65 (D.C. Cir. 2015) (upholding a

short-term race-conscious plan that allowed racial minorities to be exempted from State

Department’s usual preference for internal hiring).

       Courts have similarly held that 42 U.S.C. § 1981 permits voluntary race-based

affirmative-action programs and have looked to Title VII standards to evaluate such programs. 5

Setser, 657 F.2d at 966-69; see also Schurr v. Resorts Int’l Hotel, Inc., 196 F.3d 486, 498-99 (3d

Cir. 1999); Edmonson v. U.S. Steel Corp., 659 F.2d 582, 583-84 (5th Cir. Unit B 1981) (per

curiam); Frost v. Chrysler Motor Corp., 826 F. Supp. 1290, 1294 (W.D. Okla. 1993); Stock v.

Universal Foods Corp., 817 F. Supp. 1300, 1306 (D. Md. 1993). Courts, including the en banc

Ninth Circuit, have also upheld affirmative action under section 1981 in cases not involving

employment, adapting the Title VII framework to fit the case’s context. See Doe v. Kamehameha

Schs./Bernice Pauahi Bishop Est., 470 F.3d 827, 839, 849 (9th Cir. 2006) (en banc) (upholding

section 1981 voluntary affirmative-action program implemented by private school that receives



5
  The EEOC notes that Title VII and section 1981 have not been interpreted coterminously in all
respects. See Comcast Corp. v. Nat’l Ass’n of African Am.-Owned Media, 140 S. Ct. 1009, 1017-
19 (2020) (Title VII’s “motivating factor” causation standard inapplicable to section 1981).


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no federal funding); see also Rabbani v. Gen. Motors Corp., No. 3:98cv425/RV, 2000 WL

36752977, at *4 (N.D. Fla. July 26, 2000) (upholding General Motors’s Minority Dealer

Development Program as valid section 1981 affirmative-action program), aff’d, 252 F.3d 443

(11th Cir. 2001).

II. Voluntary affirmative-action programs implemented by private entities are not subject
   to strict scrutiny.

       The Supreme Court’s decisions in Johnson and Weber govern the analysis of Title VII

private affirmative-action plans. Under those precedents, courts assess three factors: (1) whether

the plan responds to a “manifest imbalance” in “traditionally segregated job categories”; (2)

whether the plan “unnecessarily trammel[s] the rights of” employees not favored by the plan; and

(3) whether the plan is temporary and intended to attain, rather than maintain, a balanced

workforce. Johnson, 480 U.S. at 631-39.

       EEOC Guidelines provide a roadmap for employers seeking to implement valid

affirmative-action plans. See 29 C.F.R. Part 1608. Mirroring the Johnson/Weber framework, the

Guidelines recognize that entities covered by Title VII may “take affirmative action to correct

the effects of prior discriminatory practices.” Id. § 1608.3(b). Those prior discriminatory

practices need not be attributable to the party initiating the affirmative-action plan; indeed, the

Guidelines suggest that a covered entity should “be concerned with the effect on its employment

practices of circumstances which may be the result of discrimination by other persons or

institutions.” Id. § 1608.4(a) (citing Griggs v. Duke Power Co., 401 U.S. 424 (1971)); see also

Johnson, 480 U.S. at 632-33 (manifest imbalance in employer’s workforce need not rise to the

level of a prima facie case to justify a voluntary affirmative-action plan). Thus, the Guidelines

implicitly recognize that employers need not remain passive in the face of historical




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discrimination in their industry or geographic area that has caused a racial or gender imbalance

in their workforce.

       Reasonableness governs the process: once a Title VII-covered employer concludes,

through a reasonable self-assessment, that it has a reasonable basis to take affirmative action, it

can then take action that is reasonable in relation to the problems disclosed by the self-analysis to

address the effects of past discrimination. 29 C.F.R. § 1608.4(a)-(c). Reasonable action “may

include the adoption of practices which will eliminate the . . . effect o[f] past discrimination by

providing opportunities for members of groups which have been excluded, regardless of whether

the persons benefited were themselves the victims of prior policies or procedures which

produced the adverse impact or disparate treatment or which perpetuated past discrimination.”

Id. § 1608.4(c). Moreover, the race- or gender-dependent aspects of the affirmative-action

program must last “only so long as is necessary to achieve [the program’s reasonable]

objectives” and “avoid[] unnecessary restrictions on opportunities for the workforce as a whole.”

Id. § 1608.4(c)(2)(i). Thus, the Title VII standard for voluntary affirmative action requires the

employer to take care to limit the burden on non-beneficiaries of the program. See Johnson, 480

U.S. at 637-38.

       In Title VII litigation challenging action taken pursuant to an affirmative-action plan, the

plaintiff bears the burden of proving that the plan is invalid. See id. at 626 (acknowledging that it

is the plaintiff’s burden to establish that a challenged voluntary affirmative-action plan is

invalid); see also Sharkey v. Dixie Elec. Membership Corp., 262 F. App’x 598, 603 (5th Cir.

2008) (affirmative-action plan is not an affirmative defense). Employers enjoy a safe harbor from

Title VII liability when their affirmative-action plans are in writing and conform with EEOC

Guidelines. See 29 C.F.R. §§ 1608.2, 1608.4(d)(1). An unwritten plan does not enjoy this safe




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harbor, but it may nonetheless constitute a viable defense to a discrimination charge filed with

the Commission. Id. § 1608.4(d)(2).

       As discussed above, multiple courts have held that affirmative action is appropriate under

section 1981 as well and have looked to Title VII principles to guide the affirmative-action

analysis. See supra at 4-5. When assessing affirmative-action programs implemented by private

entities outside the hiring and promotion context, courts have adapted the Johnson/Weber

framework to fit the case’s context. In Doe, for instance, the Ninth Circuit adapted the

employment-related affirmative-action analysis to fit the context of admissions at a private high

school that does not accept federal funding. 470 F.3d at 839-46. The court looked to the Johnson

factors but modified them to account for the fact that an affirmative-action program in school

admissions—one with the broad goal of “ensuring that significantly underachieving minority

groups are included fully as tomorrow’s citizens, leaders, and workers”—should focus externally

on the community at large, not just on the school’s current population. Id. at 842.

       Likewise, in Rudebusch v. Hughes, 313 F.3d 506 (9th Cir. 2002), a Title VII case, the

court modified the affirmative-action analysis to assess the legality of an employer’s efforts to

remedy pay disparities adversely affecting female and minority faculty. The most significant

modification came in the court’s analysis of whether the employer’s pay adjustments

unnecessarily trammeled the rights of White, male faculty. Id. at 521-23. The court reasoned that

White, male faculty were not barred from otherwise receiving pay adjustments, but that the one-

time pay adjustment was made only because of the imbalance affecting the pay of minority and

female faculty. Id. at 521-22. The court rejected the notion that, “anytime an employer attempts

to address a manifest imbalance in the pay equity context, it must simultaneously consider the




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unrelated concerns of those employees who have not demonstrated such a legally cognizable

imbalance.” Id. at 522-23.

       Plaintiffs here may attempt to argue, as the plaintiffs in similar litigation have, that the

Supreme Court in Gratz v. Bollinger, 539 U.S. 244 (2003), held that section 1981 is coextensive

with the Equal Protection Clause and therefore an affirmative-action plan under section 1981

must satisfy strict scrutiny. See Reply Br. of Appellant at 11-12, Am. All. for Equal Rts. v.

Fearless Fund Mgmt., LLC, No. 23-13138 (11th Cir. Jan. 3, 2024) (Fearless Fund). They may

therefore argue that the standards announced in Students for Fair Admissions, Inc. v. President &

Fellows of Harvard College, 600 U.S. 181 (2023) (SFFA), should govern the analysis of any

voluntary affirmative-action plan under section 1981. See Am. All. for Equal Rts. v. Fearless

Fund Mgmt., LLC, No. 1:23-CV-3424-TWT, 2023 WL 6295121, at *7 (N.D. Ga. Sept. 27, 2023)

(noting the plaintiff’s argument that Gratz and SFFA require strict scrutiny for affirmative-action

plans under section 1981 but declining to resolve the question). 6

       That erroneous argument, made in Fearless Fund, is based on a misreading of the Court’s

twenty-third footnote in Gratz, in which the Court wrote that “purposeful discrimination that

violates the Equal Protection Clause of the Fourteenth Amendment will also violate § 1981.”

Gratz, 539 U.S. at 276 n.23. But as the Ninth Circuit explained in Doe, and as is apparent both




6
  After declining to resolve the plaintiff’s argument that SFFA controls the analysis, the district
court inexplicably applied a hybrid of the Johnson/Weber standard and strict scrutiny. 2023 WL
6295121, at *7. It then cited Doe, which unequivocally rejected the idea that strict scrutiny
applies to section 1981 affirmative-action plans. See id. (citing Doe, 470 F.3d at 842-45); see
also Doe, 470 F.3d at 839. Whether the defendants’ program was an affirmative-action plan was
not dispositive in Fearless Fund, as the court denied the plaintiff’s motion for a preliminary
injunction on other grounds. Fearless Fund, 2023 WL 6295121, at *7-8. The case is currently
pending before the Eleventh Circuit, which heard oral argument in the plaintiff’s interlocutory
appeal of the denial of its motion for a preliminary injunction on January 31, 2024. No other
court has adopted the Fearless Fund district court’s analysis.


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from the wording of the footnote and its citation to General Building Contractors Association,

Inc. v. Pennsylvania, 458 U.S. 375, 389-90 (1982), the Gratz Court was referring to the fact that

both the Equal Protection Clause and section 1981 prohibit only purposeful discrimination and

do not separately provide for disparate-impact liability. “Whether strict scrutiny applies to

§ 1981 claims was not at issue [in Gratz].” Doe, 470 F.3d at 839. Nor did the Court consider in

Gratz whether institutions of higher education can consider race in admissions as a remedy for

past discrimination. See Gratz, 539 U.S. at 268. Moreover, the SFFA decision said nothing about

section 1981, as the plans at issue were analyzed under the Equal Protection Clause and Title VI.

       In fact, “[t]he Supreme Court has never applied strict scrutiny to the actions of a purely

private entity” that does not receive federal funding. Doe, 470 F.3d at 839. The Supreme Court

did not abandon that longstanding rule—or the standards articulated in Johnson and Weber—in

passing in a footnote in Gratz, and then sub silentio in SFFA. See Shalala v. Ill. Council on Long

Term Care, Inc., 529 U.S. 1, 18 (2000) (“This Court does not normally overturn, or so

dramatically limit, earlier authority sub silentio.”); see also Cooper v. MRM Inv. Co., 367 F.3d

493, 507 (6th Cir. 2004) (overruling by implication disfavored). Indeed, the strict scrutiny

standard would make little sense in the context of purely private action, given that the first prong

of the strict scrutiny analysis demands a compelling governmental interest. See SFFA, 600 U.S.

at 206-07.

       To subject purely private affirmative-action plans to strict scrutiny would not only upset

section 1981 affirmative-action precedent but could also have practical implications for race-

based affirmative action that is squarely permissible under Title VII. Most employment

relationships can be characterized as contractual relationships subject to section 1981. As the

Setser court recognized, subjecting section 1981 affirmative action to a higher standard than Title




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VII “would make little sense” and could subject employers to conflicting obligations. 667 F.2d at

966-68. In fact, were section 1981 affirmative-action plans in the employment context governed

by a different, and more exacting, standard than Title VII, section 1981 would offer a back-door

means to challenge, and thus to undercut, the types of voluntary affirmative-action plans that

Weber and Johnson held permissible. An employer subject to both statutes would likely conform

its conduct to the more stringent standard, meaning it would not develop the types of carefully

designed and limited affirmative-action plans that EEOC’s Guidelines contemplate as integral to

effectuating equal employment opportunity under Title VII.

       This year marks Title VII’s 60th anniversary, but the sort of employment discrimination

Congress sought to eradicate with its passage unfortunately persists. See, e.g., EEOC v. Green

JobWorks, LLC, No. CV RDB-21-1743, 2022 WL 1213478, at *6 (D. Md. Apr. 25, 2022)

(alleging defendant indicated to female job applicants it “would not hire females and did not

want female employees operating equipment on job sites”); EEOC v. Mavis Discount Tire, Inc.,

129 F. Supp. 3d 90, 111-12 (S.D.N.Y. 2015) (evidence showed defendant hired “zero female

Store Managers, Mechanics, and Technicians” over four-year period, while hiring “80 male

Store Managers, 655 male Mechanics, and 1,688 male Technicians”); EEOC v. Rosebud Rests.,

Inc., 85 F. Supp. 3d 1002, 1004 (N.D. Ill. 2015) (alleging that for approximately five years,

defendant “failed or refused to hire African-Americans because of their race”). EEOC

enforcement actions and private-party litigation play a vital role in rooting out pervasive

discrimination but cannot alone fully effectuate Title VII’s vision. Empowering employers to

take voluntary measures to remedy past discrimination remains an important component of our

nation’s progression toward equal employment opportunity. This Court should take care not to

hinder such efforts.




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                                        CONCLUSION

       Longstanding precedent and EEOC’s Guidelines permit voluntary affirmative-action

plans under Title VII. Section 1981 affirmative-action caselaw in the purely private sphere is

guided by the Title VII affirmative-action framework and was not modified by the Supreme

Court’s post-secondary education affirmative-action decisions.




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February 22, 2024




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                              CERTIFICATE OF COMPLIANCE

       I certify that this brief does not exceed the page limitation set forth in L.R. 7.1(f). I

further certify that this Court does not have a specific rule governing the length of submissions

from amicus curiae.



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February 22, 2024




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                                CERTIFICATE OF SERVICE

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